      Case: 1:18-cv-03989 Document #: 39 Filed: 01/08/20 Page 1 of 2 PageID #:435




                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

JOHN SCATCHELL,                                     )
                                                    )
               Plaintiff,                           ) Case No. 18-cv-3989
                                                    )
        vs.                                         )
                                                    ) Honorable Charles R. Norgle, Sr
VILLAGE OF MELROSE PARK,                            )
RONALD M SERPICO, SAM C. PITASSI,                   ) Honorable Michael T. Mason
MICHAEL CASTELLAN, and                              )
STEVE ROGOWSKI                                      ) JURY TRIAL DEMANDED
                                                    )
               Defendants.                          )

                                     NOTICE OF MOTION

TO:     See attached Certificate of Service.

         PLEASE TAKE NOTICE that on Friday, the 17th day of January, 2020, at 9:30 a.m.,
I shall appear before the Honorable Judge Charles R. Norgle, Sr., or anyone sitting in his stead,
in the courtroom where he usually presides, Courtroom 2341 of the United States District Court,
Northern District, Eastern Division, Everett McKinley Dirksen Bldg., 219 S. Dearborn Street,
Chicago, Illinois, and then and there present Defendants’ Joint Motion for a HIPAA Qualified
Protective Order, a copy of which is attached hereto and herewith served upon you.



                                               s/ Michael D. Bersani
                                               MICHAEL D. BERSANI, ARDC No. 06200897
                                               Attorney for Defendants Sam C. Pitassi,
                                                 Michael Castellan and Steve Rogowski
                                               HERVAS, CONDON & BERSANI, P.C.
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      Case: 1:18-cv-03989 Document #: 39 Filed: 01/08/20 Page 2 of 2 PageID #:436




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                             NORTHERN DISTRICT OF ILLINOIS
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JOHN SCATCHELL,                                    )
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               Plaintiff,                          ) Case No. 18-cv-3989
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        vs.                                        )
                                                   ) Honorable Charles R. Norgle, Sr
VILLAGE OF MELROSE PARK,                           )
RONALD M SERPICO, SAM C. PITASSI,                  ) Honorable Michael T. Mason
MICHAEL CASTELLAN, and                             )
STEVE ROGOWSKI                                     ) JURY TRIAL DEMANDED
                                                   )
               Defendants.                         )

                                CERTIFICATE OF SERVICE

       I hereby certify that on January 8, 2020, I electronically filed the foregoing Notice of
Motion with the Clerk of the U.S. District Court for the Northern District of Illinois, Eastern
Division, using the CM/ECF system which will send notification of such filing to the following
CM/ECF participants:

TO:     Gianna Rochelle Scatchell, 360 West Hubbard Street, Suite 1404, Chicago, IL 60654
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                                            s/ Michael D. Bersani
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